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                         UNITED STATES DISTRICT COURT
                        FOR THE DISTRICT OF NEW JERSEY


JAMES CHRISTIAN, individually
and on behalf of all others similarly
situated,

      Plaintiff,
                                                 Civ. No. 17–497 (KM) (JBC)
      v.
                                                           ORDER
BT GROUP PLC, GAVIN E.
PATTERSON, IAN LIVINGSTON,
TONY CHANMUGAM, LUIS ALVAREZ,
and NICK ROSE

      Defendants.


      This matter having come before the Court on the motion to dismiss the
fourth amended complaint for failure to state a claim, pursuant to Fed. R. Civ.
P. 12(b)(6), filed by the defendants, BT Group plc, Ian Livingston, Gavin E.
Patterson, Tony Chanmugam, Nick Rose, Luis Alvarez, and Richard Cameron
(DE 68); and the plaintiffs having submitted papers in response (DE 70); and
the defendants having filed a reply (DE 71); and this Court having reviewed the
submissions and considered the matter without oral argument; for the reasons
set forth in the accompanying Opinion, and for good cause shown;
      IT IS this 24th day of April 2020,
      ORDERED that the defendants’ motion to dismiss the fourth amended
complaint (DE 68) is GRANTED. Because further amendment would appear to
be futile, the dismissal is with prejudice. The clerk shall close the file.


                                              /s/ Kevin McNulty
                                              ___________________________________
                                              Hon. Kevin McNulty
                                              United States District Judge
